      Case 1:08-cr-00379-AWI Document 122 Filed 04/24/09 Page 1 of 2
     Robert D. Wilkinson    #100478
 1        B AK E R , M AN O C K & J E N S E N
                A P RO F ES SI O NA L CO RP ORA TI O N
             F IG G A R D E N F IN A N C IA L C E N T E R
 2      5260 NORTH PALM AVENUE, FOURTH FLOOR
          FRESNO, CALIFORNIA 93704-2209
 3            TE L E P H O N E (559) 432-5400
              TE L E C O P IE R (559) 432-5620

 4
                            Defendant DARNELL V. McPETERS
 5   Attorneys for

 6

 7

 8                                                          UNITED STATES DISTRICT COURT

 9                                                     EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                                             )   Case No. 1:08-CR-00379 OWW
                                                                           )
12                                                            Plaintiff,   )
                                                                           )
13           v.                                                            )   STIPULATION AND [PROPOSED]
                                                                           )   ORDER TO TRAVEL TO GREAT
14   DARNELL V. McPETERS, et al.                                           )   AMERICA
                                                                           )
15                                                          Defendants.    )
                                                                           )
16                                                                         )

17                          IT IS HEREBY STIPULATED between the Defendant DARNELL McPETERS,

18   by and through his attorney of record, Robert D. Wilkinson, and Plaintiff, by and through Assistant

19   United States Attorney, Marlon Cobar, that the Court allow the Defendant to travel to Great

20   America in San Jose, California, to celebrate his wedding anniversary from May 2, 2009 to May 3,

21   2009.

22                          Pretrial services has agreed to this stipulation, as well, and has agreed to extend the

23   defendant’s curfew during this time period. Mr. McPeters will still need to submit all travel

24   arrangements to the Pretrial office prior to his departure and shall notify them immediately upon

25   his return. All other conditions of release shall remain in effect.

26                                                                             Respectfully submitted,

27

28   DATED: April 23, 2009.                                                       /s/ Robert D. Wilkinson
                                                                               Robert D. Wilkinson
                                                                               Attorneys for Defendant DARNELL
                                                                               McPETERS
       Case 1:08-cr-00379-AWI Document 122 Filed 04/24/09 Page 2 of 2

 1

 2
     DATED: April 23, 2009.                                /s/ Marlon Cobar
 3                                                       Marlon Cobar
                                                         Assistant United States Attorney
 4

 5

 6                                             ORDER

 7

 8          IT IS SO ORDERED: Good cause having been shown, it is hereby ordered that the

 9   Defendant DARNELL McPETERS be allowed to leave the Eastern District of California to travel

10   to Great America from May 2, 2009 to May 3, 2009.

11   IT IS SO ORDERED.

12   Dated: April 23, 2009                         /s/ Oliver W. Wanger
     emm0d6                                   UNITED STATES DISTRICT JUDGE
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